\

7 Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page1of33 PagelD 788
|
|
|

ow IN THE UNITED STATES DISTRICT COURT
oe NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

THE CBE GROUP, INC. and
RGS FINANCIAL, INC,,

Plaintiffs,
v. Civil Action No.: 3:17-CV-2594-L
JOHN C, HEATH, ATTORNEY AT
LAW, PLLC d/b/a LEXINGTON LAW
FIRM and PROGREXION ASG, INC,,

Defendants.

CO COR OGRE CO? 60> 6G? 60> GO? 0D 600 Ge OOS

Court’s Charge to the Jury
Members of the Jury:
Introduction

Now that you have heard the evidence, it is my duty to instruct you on the law that is
applicable to this case. It is your duty as jurors to follow the law as stated in this Charge and to
apply the rules of law to the facts as you find them from the evidence in this case. [ will instruct
you regarding the law that you must apply in answering certain questions of fact in this case, and
I will read to you those questions in a few minutes.

The attorneys will then have the opportunity to make their closing arguments. You are
instructed that the statements and arguments of counsel are not evidence. They are intended only
to assist the jury in understanding the evidence and the contentions of the parties to this lawsuit.
In other words, the closing arguments made by the lawyers are their interpretations of what they

believe the evidence shows or does not show. After the attorneys make their closing arguments, I

Court’s Charge to the Jury — Page 1
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 2of33 PagelD 789

will give you some additional instructions, after which you will retire to commence your
deliberations.

Plaintiffs in this action are CBE Group, Inc. and RGS Financial, Inc. I will refer to CBE
Group, Inc. as (“CBE”), and RGS Financial, Inc. as (“RGS”), At times CBE and RGS collectively
are referred to as Plaintiffs. Defendants in this action are John C. Heath, Attorney at Law, PLLC
d/b/a Lexington Law Firm and Progrexion ASG, Inc. I will refer to John C, Heath, Attorney at
Law, PLLC doing business as Lexington Law Firm as “Lexington Law” and Progrexion ASG, Inc.
as “Progrexion.” At times Lexington Law and Progrexion collectively are referred to as
Defendants.

The parties to this litigation must be treated exactly alike insofar as their rights are
concerned. This case must be considered and decided by you as an action between persons of
equal standing in the community, of equal worth, and holding the same or similar stations in life.
The law is no respecter of persons. A corporation and all other persons stand equal before the law
and are to be dealt with as equals in a court of law.

In arriving at your verdict, it is your duty to follow the rules of law that I give to you and
to find the facts of this case from the evidence introduced at trial and in accordance with these
tules of law. You are not to single out one instruction alone as stating the law, but you must
consider the instructions as a whole. You are not to be concerned with the wisdom of any rule or
law stated by me. Do not let bias, sympathy, or prejudice play any part in your deliberations.

You must not consider or be influenced by the fact that during the trial of this case counsel
have made objections to some of the testimony and exhibits, as it is their duty to do so; and it is
the duty of the court to rule on those objections in accordance with the law. Any evidence to which

an objection was sustained by the court, and any evidence that was stricken by the court, must be

Court’s Charge to the Jury — Page 2
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 3of33 PagelD 790

entirely disregarded and not considered by you for any purpose. If evidence was admitted for a
limited purpose, you must consider it only for that limited purpose.

You are not bound by any opinion that you might think the court has concerning the facts
of this case, and if 1 have in any way said or done anything that leads you to believe that I have
any opinions about the facts in this case, you are hereby instructed to disregard it. Further, nothing
in these instructions to you is made for the purpose of suggesting to you what verdict I think you
should find.

Credibility and Number of Witnesses

You alone are to determine the questions of credibility or truthfulness of the witnesses. In
weighing the testimony of the witnesses, you may consider the witness’s manner and demeanor
on the witness stand, any feelings or interest in the case, or any prejudice or bias about the case,
that he or she may have, and the consistency or inconsistency of his or her testimony considered
in the light of the circumstances. Has the witness been contradicted by other credible evidence?
Has he or she made statements at other times and places contrary to those made here on the witness
stand? You must give the testimony of each witness the credibility that you think it deserves.

Even though a witness may be a party fo the action and therefore interested in its outcome,
the testimony may be accepted if it is not contradicted by direct evidence or by any inference that
may be drawn from the evidence, if you believe the testimony.

You are not to decide this case by counting the number of witnesses who have testified on
the opposing sides. Witness testimony is weighed; witnesses are not counted. The test is not the
relative number of witnesses, but the relative convincing force of the evidence. The testimony of
a single witness is sufficient to prove any fact, even if a greater number of witnesses testified to

the contrary, if after considering all of the other evidence, you believe that particular witness,

Court’s Charge to the Jury — Page 3

 
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 4of33 PagelD 791

A witness may be discredited or “impeached” by contradictory evidence, by a showing that
he or she testified falsely concerning a material matter, or by evidence that at some other time the
witness said or did something, or failed to say or do something, which is inconsistent with the
present testimony of that witness. If you believe that any witness has been impeached, it is your
exclusive province to give the testimony of that witness such credibility or weight, if any, as you
think it deserves.

You should keep in mind, of course, that a simple mistake by a witness does not necessarily
mean that the witness was not telling the truth as he or she remembers it, because people may
forget things or remember other things inaccurately; therefore, if a witness has made a
misstatement, you need only consider whether that misstatement was an intentional falsehood or
simply an innocent lapse of memory; and the importance of that may depend on whether it has to
do with an important factor or with only an unimportant detail.

Filing of a Lawsuit

‘That a person or company files a lawsuit and is seeking damages does not create an
inference that the person or company is entitied to prevail. The act of making a claim or filing a
lawsuit, by itself, does not establish or prove the claim alleged or asserted. As jurors, you will
determine whether a claim has been proved and whether a party is entitled to damages.

Evidence and Inferences

Generally speaking, there are two types of evidence that a jury may consider in properly
finding the truth as to the facts in this case. One is direct evidence—such as the testimony of an
eyewitness. The other is indirect or circumstantial evidence—the proof of a chain of circumstances

that point to the existence or nonexistence of certain facts. As a general rule, the law makes no

Court’s Charge to the Jury — Page 4

 
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page5of33 PagelD 792

distinction between direct and circumstantial evidence but simply requires that the jury find the
facts from the evidence, both direct and circumstantial.

While you must consider only the evidence in this case, you are permitted to draw
reasonable inferences and deductions from the evidence. The expression “to draw an inference”
means to find that a fact exists based on proof of another fact. An inference may be drawn only if
it is reasonable and logical, not if it is speculative. Therefore, in deciding whether to draw an
inference, you must consider all the facts in the light of reason, common sense, and experience.
After you have done that, the question whether to draw a particular inference is for you to decide.

Burden of Proof

The burden is on CBE and RGS in a civil action such as this to prove every essential
element of their respective claims by a “preponderance of the evidence,” unless I direct you
otherwise on a specific issue. A preponderance of the evidence means such evidence that, when
considered and compared with that opposed to it, has more convincing force and produces in your
minds a belief that what is sought to be proved is more likely true than not true. In other words,
to establish a claim by a “preponderance of the evidence” merely means to prove that the claim is
more likely so than not so.

In determining whether any fact in issue has been proved by a preponderance of the
evidence, you are to consider the testimony of all the witnesses, regardless of whom may have
called them, and all the exhibits received into evidence, regardless of whom may have introduced
them. If the proof should fail to establish any essential element of any of CBE’s or RGS’s claims
by a preponderance of the evidence, you must find against them with respect to that particular

claim.

Court’s Charge to the Jury — Page 5

 
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page6of33 PagelD 793

Deposition Testimony

In this case, the testimony of Ms. Agustina Chavarria was presented to you through a
deposition. A deposition is the sworn, recorded answers to questions a witness was asked in
advance of the trial. Before this trial, attorneys representing the parties in this case questioned Ms.
Chavatria under oath. A court reporter was present and recorded the testimony. Deposition
testimony is allowed when a witness is unavailable to testify at trial, or the person is the designated
company representative. Deposition testimony is entitled to the same consideration and is to be
Judged by you as to credibility, and weighed and otherwise considered by you insofar as possible
in the same way, as if the witness had been present and had testified from the witness stand in
court.

Notes of Jurors

Some of you may have taken notes. Any notes that you have taken during this trial are
only aids to your memory. If your memory differs from your notes, you should rely on your
memory and not on the notes. The notes are not in evidence, If you have not taken notes, you
should rely on your independent recollection and should not be unduly influenced by the notes of
other jurors. Notes are not entitled to any greater weight than the recollection or impression of
each juror about the testimony.

Transcript of Proceedings
An official reporter has made a record of the entire trial, A typewritten transcript of this

trial, however, will not be available for your use during jury deliberations in this case,

Court’s Charge to the Jury — Page 6
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 7of33 PagelD 794

Stipulated Facts

Stipulated facts must be considered in the same way as if that testimony was received, The
parties have stipulated or agreed to the following matters. This means that you are to accept them
as true, and no additional evidence is necessary to establish their veracity:

1, CBE is an fowa Corporation that has a location in New Braunfels, Comal County,
Texas.

2. RGS is a Texas Corporation that has a location in Richardson, Dallas County,
Texas.

3. CBE is a data furnisher subject to the rules imposed by the Fair Credit Reporting
Act (““FCRA”), the Fair Debt Collection Practices Act (“FDCPA”), and relevant state laws.

4, RGS is a data furnisher subject to the rules imposed by the FCRA, FDCPA and
relevant state laws.

5. Lexington Law is the d/b/a for John C. Heath, PLLC, which is a Utah professional

limited liability corporation with its principal place of office at 360 North Cutler Drive, Salt Lake

City, Utah 84054.

6. Lexington Law is a law firm that advertises itself as “the leading credit repair law
firm.”

7. Progrexion, is a Delaware Corporation, with its principal place of business at 330

North Cutler Drive, North Salt Lake, Utah 84054.
8. Progrexion is a credit repair organization that advertises itself as “a technology-

enabled consumer services business that leads the way in Credit Repair.”

Court’s Charge to the Jury — Page 7
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 8of33 PagelD 795

9, Progrexion and Lexington Law have entered into various service agreements
including accounting, human resource management, payment processing, and intellectual
technologies management services,

10. Under their agreements, Lexington Law receives services from Progrexion that aid
Lexington Law in its credit repair services.

11. Under their agreements, Progrexion receives a flat fee from Lexington Law as well
as fees per consumer client serviced by Lexington Law.

12, Progrexion leases the trademark Lexington Law to John C. Heath, Attorney at Law,
PLLC d/b/a Lexington Law Firm,

13. Progrexion is owner of patented software that generates context-based unique letter
(Patent No.; US 10,114,798 B2) (“Letter Generation Software’).

14.  Progrexion provides the Letter Generation Software to Lexington Law for a fee.

15. Progrexion provides training to Lexington Law paralegals.

16. Progrexion markets on behalf of Lexington Law.

17. Progrexion generates sales leads on behalf of Lexington Law.

18. | Progrexion completes client enrollment on behalf of Lexington Law.

19, Through Progrexion, Lexington Law enters into an engagement agreement with its
consumer client electronically,

20. Progrexion sends Lexington Law’s engagement agreement to prospective
consumer clients via e-mail or text.

21. Lexington Law has different service levels to which its consumer clients may sign

up.

Court’s Charge to the Jury — Page 8

 
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page9of33 PagelD 796

22. The service level chosen by the consumer client affects the number of dispute letters
generated by Defendants through the Letter Generation Software.

23. Lexington Law’s service levels are opt-out plans that automatically renew every
month unless its consumer client cancels the service plan.

24. Lexington Law’s consumer client accesses a user interface called, Case Valet.

295. _In the Case Valet, consumer client chooses how he or she wishes Lexington Law
to challenge the negative items on his or her credit report.

26, Based on the consumer client’s challenge preference, selections and according to
the chosen service plan, Defendants draft and sign dispute letters in the consumer client’s name
and signature using the Letter Generation Software.

27, Based on the consumer client’s challenge preference, selections and according to
the chosen service plan, Defendants print and mail the generated dispute letters first to the
consumer client’s resident state and from there to the intended recipient of the dispute letters such
as Plaintiffs in the consumer client’s name.

28. Defendants send the generated dispute letter to the consumer client’s state of
residence.

29, Defendants postmark and mail the generated dispute letter to credit bureaus,
creditors, and collection agencies such as Plaintiffs in the consumer client’s name and from the
consumer client’s residence state.

30. Consumer clients are not aware that letters are being generated using the Letter

Generation Software.

Court’s Charge to the Jury — Page 9
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 10 o0f33 PagelD 797

31, Consumer clients are not aware that their selections in Case Valet and other
selections they make on Lexington Law’s website are inputted into the Letter Generation Software

and affect the dispute letters generated.

32. Consumer clients are not aware that letters are being mailed from their state of
residence.
33, Consumer clients are not offered the opportunity to review the letters generated

through the Letter Generation Software.

34. Defendants draft and sign the dispute letter using the Letter Generation Software
and mail dispute letters to a particular entity monthly per the terms of the service plan until the
consumer either updates his or her challenge preference, or cancels his or her services with
Lexington Law.

35, Defendants do not disclose to the recipient of the dispute letters that the letters are
associated with Defendants.

36. Defendants do not disclose to the recipient of the dispute letters that the letters are
drafted and signed by Defendants using the Letter Generation Software.

37. Defendants do not disclose to the recipient of the dispute letters that the letters are
printed and mailed by Defendants,

38. Defendants do not disclose to the recipient of the dispute letters that the consumer
client did not draft or sign the letters,

39. Defendants do not disclose to the recipient of the dispute letters that the consumer

client did not review the letters.

Court’s Charge to the Jury — Page 10

 
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 11o0f33 PagelD 798

40. Defendants do not disclose to the recipient of the dispute letters that the consumer
client has no knowledge that the letters were drafted, signed or mailed in his or her name and
signature and from his or her state of residence.

41. Defendants intended that the recipient of the dispute letters treat the dispute letter
as if the consumer personally drafted, signed and mailed the dispute letter.

42. Defendants do not have a process in place whereby Defendants reach out to
Lexington Law’s consumer clients for information concerning any responses to the dispute letters
the consumer client may have received from recipients of the dispute letters.

43, Defendants assume that if Lexington Law’s consumer client does not update
Defendants regarding any responses to dispute letters, Defendants assume that Lexington Law’s
consumer client has been ignored and continue drafting, signing and mailing dispute letters.

44, Plaintiffs have received thousands of pieces of dispute letters purportedly drafted
and signed by Lexington Law’s consumer clients,

45, Plaintiffs have received thousands of pieces of dispute letters purportedly drafted
and signed by Lexington Law’s consumer clients even after they had responded to their dispute
letters previously.

46. Plaintiffs are obligated under the FDCPA, the FCRA and various state laws to
investigate and respond to the dispute letters when they are directly from the consumer.

47. Plaintiffs determine whether a dispute letter is frivolous on a case-by-case basis.

Court’s Charge to the Jury — Page 11
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 12 of 33 PagelD 799

Definitions of Terms and Explanations Under Federal Law

The FCRA defines the term “consumer” fo mean an individual, Lexington Law’s clients
are consumers within the meaning of the FCRA.

“Furnisher” means an entity that furnishes or transmits information (data) relating to debts
owed by consumers to consumer reporting agencies for inclusion in a consumer report. Plaintiffs
are furnishers and subject to the FCRA,

The term “person,” for purposes of this case, means any individual, partnership, or
corporation.

The FCRA allows consumers to dispute information directly with the credit furnisher.
The FCRA requires a data furnisher to:

(i) conduct an investigation with respect to the disputed information;

Gi) review all relevant information provided by the consumer with the notice;

Gii} complete such person’s investigation of the dispute and report the results of the
investigation to the consumer before the expiration of 30 days within which a
consumer reporting agency would be required to complete its action if the consumer
had elected to dispute the information under that section; and

(iv) if the investigation finds that the information reported was inaccurate, promptly
notify each consumer reporting agency to which the person furnished the inaccurate
information of that determination and provide to the agency any correction to that
information that is necessary to make the information provided by the person
accurate,

Under the FCRA, there is no duty to investigate if the person receiving a notice of a dispute from

a consumer reasonably determines that the dispute is frivolous or irrelevant, including —

(a} by reason of the failure of a consumer to provide sufficient information to
investigate the disputed information; or

(b) the submission by a consumer of a dispute that is substantially the same as a dispute
Y Pp
previously submitted by or for the consumer, either directly to the person or through

Court’s Charge to the Jury — Page 12
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 13o0f33 PagelD 800

a consumer reporting agency, with respect to which the person has already
performed the investigation.

(c) Upon making any determination that a dispute is frivolous or irrelevant, the person
shall notify the consumer of such determination not later than five business days
after making such determination, by mail or, if authorized by the consumer for that
purpose, by any other means available to the person.

Court’s Charge to the Jury — Page 13
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 14 of 33 PagelD 801

Plaintiffs’ Claims for Fraud

Plaintiffs contend Defendants committed fraud in the drafting, signing and mailing of

dispute correspondence purportedly by consumers without the consumers’ knowledge or consent.

Defendants deny Plaintiffs’ fraud claim and deny that any representation made was false

or made recklessly, as a positive assertion, and without the knowledge of its truth. Defendants

deny the correspondence sent to Plaintiffs was frivolous, and contend that Plaintiffs are under no

obligation to respond to a frivolous dispute under the FCRA.

To establish fraud, Plaintiffs must prove by a preponderance of the evidence that:

1,

2.

Defendants made a material misrepresentation that was false;

Defendants knew the misrepresentation was false or made it recklessly as a positive
assertion without any knowledge of its truth;

Defendants intended to induce Plaintiffs to act upon the misrepresentation; and
Plaintiffs actually and justifiably relied on the misrepresentation, which caused the

injury, that is, the injury was the proximate result of the reliance on the
misrepresentation,

“Misrepresentation” means a false statement of fact.

Question No. 1: Did CBE prove by a preponderance of the evidence that Lexington Law

committed fraud against it?

Answer “Yes” or “No.”

Answer: Ye q

Question No. 2: Did RGS prove by a preponderance of the evidence that Lexington Law

committed fraud against it?

Answer “Yes” or “No.”

Answer: Ves

Court’s Charge to the Jury — Page 14
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 15 of33 PagelD 802

Question No. 3; Did CBE prove by a preponderance of the evidence that Progrexion committed
fraud against it?
Answer “Yes” or “No.”

Answer: y es

Question No. 4: Did RGS prove by a preponderance of the evidence that Progrexion committed
fraud against it?
Answer “Yes” or “No.”

Answer: y ES

Court’s Charge to the Jury — Page 15
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 16 of 33 PagelD 803

Plaintiffs’ Claims for Fraud by Nondisclosure
Plaintiffs also contend that Defendants committed fraud against them by nondisclosure,
Under the applicable law, fraud by nondisclosure is another way a person may commit fraud. To
establish their claims of fraud by nondisclosure, Plaintiffs must prove by a preponderance of the

evidence that:

1. Lexington Law and Progrexion failed to disclose a material fact within their
knowledge;
2, Lexington Law and Progrexion knew that the other party was ignorant of the fact

and did not have an equal opportunity to discover the truth;

3, Lexington Law and Progrexion intended to induce CBE and RGS to take some
action by failing to disclose that fact; and

4. CBE and RGS suffered injury as a result of acting without knowledge of the
undisclosed fact.

Question No. 5: Did CBE prove by a preponderance of the evidence that Lexington Law
committed fraud by nondisclosure against it?
Answer “Yes” or “No.”

Answer: vi Bs

Question No. 6: Did RGS prove by a preponderance of the evidence that Lexington Law
committed fraud by nondisclosure against it?
Answer “Yes” or “No.”

Answer: Y aS

 

Court’s Charge to the Jury ~ Page 16

 
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 17 of33 PagelD 804

Question No, 7: Did CBE prove by a preponderance of the evidence that Progrexion committed
fraud by nondisclosure against it?
Answer “Yes” or “No.”

Answer: hi aS

 

Question No. 8: Did RGS prove by a preponderance of the evidence that Progrexion committed
fraud by nondisclosure against it?

Answer “Yes” or “No.”

Answer: Yes

 

Court’s Charge to the Jury — Page 17
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 18 of 33 PagelD 805

Plaintiff's Conspiracy Claims

Plaintiffs contend that Defendants were part of a conspiracy that caused them to suffer
damages. Defendants deny that they were part of any conspiracy that caused Plaintiffs to suffer
any damages.

A civil conspiracy is a combination by two or more persons to accomplish an unlawful
purpose or to accomplish a lawful purpose by unlawful means. The elements of a conspiracy are:
(1) two or more persons; (2) an objective to be accomplished; (3) a meeting of the minds on the
objective or course of action; (4) one or more unlawful, overt acts; and (5) damages that were
proximately caused by the conspiracy. An “unlawful, overt act” means an unlawful act that is
done openly to further the conspiracy. To be Hable for a conspiracy, a party must be shown to
have intended to do more than engage in the conduct that resulted in the injury. It must be shown
that from the inception of the combination or agreement that the party intended to cause the injury
or was aware of the harm likely to result from the wrongful conduct, This means that the party
must be shown to have known the object and purpose of the conspiracy and to have had a meeting
of the minds with the other conspirators to accomplish that object and purpose, intending to bring

about the resulting injury.

Question No. 9: Did CBE prove by a preponderance of the evidence that Lexington Law was part
of a conspiracy that caused it to be damaged?
Answer “Yes” or “No.”

Answer: NX oO

 

Court’s Charge to the Jury — Page 18

 
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 19 of 33 PagelD 806

Question No, 10: Did RGS prove by a preponderance of the evidence that Lexington Law was
part of a conspiracy that caused it to be damaged?
Answer “Yes” or “No,”

Answer: N O

 

Question No. 11: Did CBE prove by a preponderance of the evidence that Progrexion was part of
a conspiracy that caused it to be damaged?
Answer “Yes” or “No.”

Answer: No

 

Question No, 12: Did RGS prove by a preponderance of the evidence that Progrexion was part of
a conspiracy that caused it to be damaged?
Answer “Yes” or “No.”

Answer: N oO

 

Court’s Charge to the Jury — Page 19

 
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 20 of 33 PagelD 807

Compensatory Damages

If you find for Plaintiffs on any of their claims, you must then consider the issue of the
amount of money damages, if any, to award. You are to award Plaintiffs an amount of money they
show by a preponderance of the evidence to be fair and adequate compensation for the loss that
proximately resulted from Defendants’ wrongful conduct that you may have found.

You must not in any way interpret the fact that I am giving instructions about Plaintiffs’
alleged damages as an indication that I believe that Defendants should, or should not, prevail in
this case. It is your task to decide whether Defendants are liable. T am instructing you on damages
only so that you will have guidance in the event you decide that Defendants are liable and that
Plaintiffs are entitled to recover money from Defendants.

If you find that Defendants are liable to Plaintiffs, then you must determine an amount that
is fair compensation for all of Plaintiffs’ damages. These damages are called compensatory
damages. The purpose of compensatory damages is to make a party whole—that is, to compensate
the party for the injury that it has suffered.

You may award compensatory damages only for injuries that Plaintiffs prove were
proximately caused by Defendants allegedly wrongful conduct. “Proximate cause” means a cause
that was a substantial factor in bringing about an event, and without which cause such event would
not have occurred, To be a proximate cause, the act or omission complained of must be such that
a person using the degree of care required of him or her would have foreseen that the event, or
some similar event, might reasonably result therefrom. There may be more than one proximate

cause of an event,

Court’s Charge to the Jury — Page 20
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 21 of 33 PagelD 808

The damages that you award must be fair compensation for all of Plaintiffs’ damages, if
any, no more and no less. You may not award compensatory damages for speculative injuries, but
only for those injuries that Plaintiffs have actually suffered. If you decide to award compensatory
damages, you must be guided by dispassionate common sense. Computing damages may be
difficult, but you must not let that difficulty lead you to engage in arbitrary guesswork, On the
other hand, the law does not require that Plaintiffs prove the amount of their losses, if any, with
mathematical precision, but only with as much definiteness and accuracy as the circumstances
permit. You must use sound discretion in fixing an award of damages, drawing reasonable
inferences where you find them appropriate from the facts and circumstances in evidence.

Mitigation of Damages

A person or entity that claims damages resulting from the wrongful act of another has a
duty under the law to use reasonable diligence to mitigate its damages, that is, to avoid or to
minimize those damages.

If you find Defendants are liable and Plaintiffs have suffered damages, Plaintiffs may not
recover for any item of damage that they could have avoided through reasonable effort. If you
find that Defendants Lexington Law and Progrexion have proved by a preponderance of the
evidence that CBE and RGS unreasonably failed to take advantage of any opportunity to lessen
their damages, you are to deny them recovery for those damages that they would have avoided had
they taken advantage of the opportunity.

You are the sole judge of whether CBE and RGS acted reasonably in avoiding or
minimizing their damages. Injured plaintiffs may not sit idly by when presented with an
opportunity to reduce their damages; however, they are not required to make unreasonable efforts

or to incur unreasonable expenses in mitigating damages. Defendants Lexington Law and

Court’s Charge to the Jury — Page 21
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 22 of 33 PagelD 809

Progrexion have the burden of proving the damages that CBE and RGS could have mitigated, In
deciding whether to reduce CBE and RGS’s damages because of their failure, if any, to mitigate,
you must weigh all the evidence in light of the circumstances of the case, using sound discretion
in deciding whether Lexington Law and Progrexion have satisfied their burden of proving that
CBE’s and RGS’s conduct was not reasonable,

Fraud Damages

With respect to Question Nos. | through 8, if you have answered “Yes” to any of these
questions, answer the following question; otherwise, do not answer it.

Question No, 13: What sum of money, if any, if paid now in cash, would fairly and reasonably
compensate Plaintiffs for their damages, if any, that resulted from such fraud?
Consider the following elements of damages, if any, and none other.

1, Lost time: The reasonable value of the time spent by Plaintiffs reviewing and
responding to the letters in question.

2. Expenses, The reasonable and necessary costs incurred in reviewing and
responding to the letters in question.

In answering questions about damages, answer each question separately. Do not increase
or reduce the amount in one answer because of your answer to any other question about damages.
Do not speculate about what any party’s ultimate recovery may or may not be. Any recovery will
be determined by the court when it applies the law to your answers at the time of judgment. Do

not add any amount for interest on damages, if any.

Court’s Charge to the Jury — Page 22
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 23 of 33 PagelD 810

Answer separately in dollars and cents for damages, if any.

As to CBE
1. Lost time sustained in the past.
. FF |
Answer: H52 685.00
2, Expenses sustained in the past.

Answer: * 60 457.60
As to RGS

1. Lost time sustained in the past.

Answer: * 3S, BRO OO

2, Expenses sustained in the past.

%
Answer: o é "S60 20

 

Question No. 13a: What percentage of the damages awarded in Question No. 13, if any, to CBE
do you attribute to each party below. The percentages must total 100%.

Lexington Law: CS Yo

 

Progrexion: BS Se

 

Question No. 13b: What percentage of the damages awarded in Question No. 13, if any, to RGS
do you attribute to each party below. The percentages must total 100%.

Lexington Law: 65%

 

Progrexion: 35

 

Court’s Charge to the Jury — Page 23

 
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 24 of 33 PagelD 811

Question No. 14: Do you find by clear and convincing evidence that the harm to CBE resulted
from any fraud found by you in Question Nos. 1 or 5?

“Clear and convincing evidence” means the measure or degree of proof that produces a
firm belief or conviction of the truth of the allegations sought to be established. Clear and
convincing evidence is a higher burden than preponderance of the evidence.

Answer “Yes” or “No.”

Answer: Ves

Question No. 15; Do you find by clear and convincing evidence that the harm to CBE resulted
from any fraud found by you in Question Nos. 3 or 7?

“Clear and convincing evidence” means the measure or degree of proof that produces a
firm belief or conviction of the truth of the allegations sought to be established. Clear and
convincing evidence is a higher burden than preponderance of the evidence.

Answer “Yes” or “No,”

Answer: Y es

 

Court’s Charge to the Jury — Page 24
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 25 of 33 PagelD 812

Answer the following question only if you answered “Yes” to Question No. 14; otherwise,
do not answer it.

Question No. 16: What sum of money, if any, if paid now in cash, should be assessed against
Lexington Law and awarded to CBE as exemplary damages, if any, found in Question Nos, | or
5?

“Exemplary damages” means an amount that you may in your discretion award as a penalty
to punish a party for its conduct and to deter it and others from engaging in similar conduct in the
future. The law does not require you to award exemplary damages; however, if you decide to
award such damages, you must use sound reason in setting the amount of damages.

Factors to consider in awarding exemplary damages, if any, are—

i, The nature of the wrong. 2

2. The character of the conduct involved.

3. The degree of culpability of Lexington Law.

4, The situation and sensibilities of the parties concerned.

5. The extent to which such conduct offends a public sense of justice and propriety.

Answer in dollars and cents, if any, as to CBE.

 

Answer: $ eS i $27.00

Court’s Charge to the Jury — Page 25
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 26 of 33 PagelD 813
Answer the following question only if you answered “Yes” to Question No. 15; otherwise,
do not answer it.
Question No. 17: What sum of money, if any, if paid now in cash, should be assessed against
Progrexion and awarded to CBE as exemplary damages, if any, for the conduct found in response
to Question Nos. 3 or 7?
“Exemplary damages” means an amount that you may in your discretion award as a penalty
to punish a party for its conduct and to deter it and others from engaging in similar conduct in the
future. The law does not require you to award exemplary damages; however, if you decide to
award such damages, you must use sound reason in setting the amount of damages.
Factors to consider in awarding exemplary damages, if any, are—
1, The nature of the wrong.
2. The character of the conduct involved.
3. The degree of culpability of Progrexion.
4, The situation and sensibilities of the parties concerned.

5. The extent to which such conduct offends a public sense of justice and propriety.

Answer in dollars and cents, if any, as to CBE.

 

Answer: * I O10 OSE. 00

Court’s Charge to the Jury — Page 26
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 27 of 33 PagelD 814

Question No. 18: Do you find by clear and convincing evidence that the harm to RGS resulted
from any fraud found by you in Question Nos. 2 or 6?

“Clear and convincing evidence” means the measure or degree of proof that produces a
firm belief or conviction of the truth of the allegations sought to be established. Clear and
convincing evidence is a higher burden than preponderance of the evidence.

Answer “Yes” or “No.”

Answer: y Bs

Question No, 19: Do you find by clear and convincing evidence that the harm to RGS resulted
from any fraud found by you in Question Nos, 4 or 8?

“Clear and convincing evidence” means the measure or degree of proof that produces a
firm belief or conviction of the truth of the allegations sought to be established. Clear and
convincing evidence is a higher burden than preponderance of the evidence.

Answer “Yes” or “No.”

Answer: y es

Court’s Charge to the Jury — Page 27
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 28 of 33 PagelD 815

Answer the following question only if you answered “Yes” to Question No. 18; otherwise,
do not answer it.

Question No, 20: What sum of money, if any, if paid now in cash, should be assessed against
Lexington Law and awarded to RGS as exemplary damages, if any, for the conduct found in
response to Question Nos. 2 or 6?

“Exemplary damages” means an amount that you may in your discretion award as a penalty
to punish a party for its conduct and to deter it and others from engaging in similar conduct in the
future. The law does not require you to award exemplary damages; however, if you decide to
award such damages, you must use sound reason in setting the amount of damages.

Factors to consider in awarding exemplary damages, if any, are—

1, The nature of the wrong.

2. The character of the conduct involved.

3. The degree of culpability of Lexington Law.

4, The situation and sensibilities of the parties concerned.

5. The extent to which such conduct offends a public sense of justice and propriety.

Answer in dollars and cents, if any, as to RGS.

Answer: P34, S14.06

Court’s Charge to the Jury — Page 28
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 29 of 33 PagelD 816

Answer the following question only if you answered “Yes” to Question No. 19; otherwise,
do not answer it,

Question No. 21; What sum of money, if any, if paid now in cash, should be assessed against
Progrexion and awarded to RGS as exemplary damages, if any, for the conduct found in response
to Question Nos. 4 or 8?

“Exemplary damages” means an amount that you may in your discretion award as a penalty
to punish a party for its conduct and to deter it and others from engaging in similar conduct in the
future. The law does not require you to award exemplary damages; however, if you decide to
award such damages, you must use sound reason in setting the amount of damages.

Factors to consider in awarding exemplary damages, if any, are—

1, The nature of the wrong.

2. The character of the conduct involved,

3, The degree of culpability of Progrexion.

4. The situation and sensibilities of the parties concerned.

5. The extent to which such conduct offends a public sense of justice and propriety.

Answer in dollars and cents, if any, as to RGS.

Answer: ¥ H6 56.00

 

Court’s Charge to the Jury — Page 29
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 30 of 33 PagelD 817

Answer the following question only if you answered “Yes” to Question Nos, | or 5;
otherwise, do not answer the following question.
Question No. 22: By what date should CBE, in the exercise of reasonable diligence, have

discovered the fraud, if any, of Lexington Law?

Answer: gi 3 | +O /F

Answer the following question only if you answered “Yes” to Question Nos. 2 or 6;
otherwise, do not answer the following question.
Question No. 23: By what date should RGS, in the exercise of reasonable diligence, have
discovered the fraud, if any, of Lexington Law?

Answer: 1G | Oe

Answer the following question only if you answered “Yes” to Question Nos. 3 or 7;
otherwise, do not answer the following question.
Question No. 24: By what date should CBE, in the exercise of reasonable diligence, have

discovered the fraud, if any, of Progrexion?
Answer: % 3 ie

Answer the following question only if you answered “Yes” to Question Nos. 4 or 8;
otherwise, do not answer the following question.
Question No. 25: By what date should RGS, in the exercise of reasonable diligence, have

discovered the fraud, if any, of Progrexion?

Answer: iO ' 20 1¥

Court’s Charge to the Jury — Page 30
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 31 of 33 PagelD 818

Final Instructions After Argument

You are the sole and exclusive judges of the facts. You should determine these facts
without any bias, prejudice, sympathy, fear, or favor, and this determination should be made from
a fair consideration of all the evidence that you have seen and heard in this trial. Our system of
law does not permit jurors to be governed by prejudice, sympathy, or public opinion, Both parties
and the public expect that you will carefully and impartially consider all of the evidence in this
case, follow the law as stated by the court, and reach a just verdict regardless of the consequences.
Do not speculate on matters that are not in evidence. Keep constantly in mind that it would be a
violation of your sworn duty to base a verdict upon anything but the evidence in this case. Your
answers and verdict must be unanimous; that is, all of you must agree to each of your answers.

You will now retire to the jury room. In a few minutes, I will send to you this Charge and
the exhibits that the court has admitted into evidence. After you receive the Court’s Charge and
exhibits from the court, you should select your presiding juror and commence your deliberations.
A transcript of the testimony will not be available for your deliberations. Remember, do not begin
your deliberations until after you have received the Court’s Charge and all exhibits admitted into
evidence. Do not deliberate unless all jurors are present.

If during the course of your deliberations you wish to communicate with the court, you
must do so only in writing by a note signed by the presiding juror, who will present it to the court
security officer. I will then respond as promptly as possible, either in writing or by having you
return to the courtroom so that I can address you orally. I caution you, however, with respect to
any message or question you might send, that you should never state or specify your numerical

division at the time.

Court’s Charge to the Jury — Page 31
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 32 of 33 PagelD 819

During your deliberations, unless I direct otherwise, you will set your own work schedule,
deciding for yourselves when and how frequently you wish to recess and for how long.

After you have reached your verdict, you will return this Charge and your written answers
to the foregoing questions. Do not reveal your answers until such time as you are discharged,
unless otherwise directed by me.

Your presiding juror will sign in the space provided in the Verdict Form after you have
reached your verdict.

Dated: July 2, 2019,

 

 

2
Sam A. Lindsay ~ a
United States District Judge C

Court’s Charge to the Jury — Page 32
Case 3:17-cv-02594-L Document 87 Filed 07/03/19 Page 33 of 33 PagelD 820

Verdict of the Jury
We, members of the jury, have answered the above and foregoing questions as indicated,

and herewith return the same into court as our verdict,

a aah a
ee Se

Presiding Juror

Dated: July 4 , 2019,

Court’s Charge to the Jury — Page 33

 
